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JUDICIAL PANEL ON
MULTIDISTRICT LITIGATION

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CLERK'S OFFICE

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DOCKET NO. 1629

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BEFORE THE JUDICIAL PANEL ON MULTIDISTRICT LITIGATION

IN RE NEURONTIN MARKETING AND SALES PRACTICES LITIGATION

(SEE ATTACHED SCHEDULE)

CONDITIONAL TRANSFER ORDER (CTO-1)_—22..0 ¥-< (- 3.37

On October 26, 2004, the Panel transferred 23 civil actions to the United States District Court for
the District of Massachusetts for coordinated or consolidated pretrial proceedings pursuant to 28
U.S.C. § 1407. With the consent of that court, all such actions have been assigned to the
Honorable Patti B. Saris.

It appears that the actions on this conditional transfer order involve questions of fact which are
common to the actions previously transferred to the District of Massachusetts and assigned to
Judge Saris.

Pursuant to Rule 7.4 of the Rules of Procedure of the Judicial Panel on Multidistrict Litigation,
199 F.R.D. 425, 435-36 (2001), these actions are transferred under 28 U.S.C. § 1407 to the

District of Massachusetts for the reasons stated in the order of October 26, 2004,
___F. Supp. 2d__(J.P.M_L. 2004), and, with the consent of that court, assigned to the
Honorable Patti B. Saris.

This order does not become effective until it is filed in the Office of the Clerk of the United
States District Court for the District of Massachusetts. The transmittal of this order to said Clerk
shall be stayed fifteen (15) days from the entry thereof and if any party files a notice of
opposition with the Clerk of the Panel within this fifteen (15) day period, the stay will be
continued until further order of the Panel.

FOR THE PANEL:
Inasmuch as no objection is oR AO
pending at this time, the ok 1. Bie fa
Stay is lifted. “Michael J Bec! :
i “Clerk of the Panel.

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MULTIDISTRICT LITIGATION

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SCHEDULE CTO-1 - TAG ALONG ACTIONS

DOCKET NO. 1629

IN RE NEURONTIN MARKETING AND SALES PRACTICES LITIGATION

DISTRICT DIV. C.A.#

ALABAMA MIDDLE
ALM 2 04-711

ALABAMA SOUTHERN
ALS 1 04-463

FLORIDA SOUTHERN
FLS 1 04-22228

ILLINOIS NORTHERN
ILN 1 04-4467

LOUISIANA EASTERN
LAE 2 04-1735
LAE 2 04-2087
LAE 2 04-2509

MISSOURI EASTERN

Alabama Forest Products Industry Workmen's Compensation Self-Insurer's Fund

v. Pfizer, Inc., et al.

Nancy Coleman, et al. v. Pfizer, Inc., et al.

Ana Medero, et al. v. Pfizer, Inc., et al.

Allied Services Division Welfare Fund v. Pfizer, Inc., et al.

Linda Rizzo v. Pfizer, Inc.
Tracey Lynn Robichaux, et al. v. Pfizer, Inc.
Louisiana Health Service Indemnity Co. v. Pfizer, Inc., et al.

MOE—4—04-982—Fhizabeth Sidy-v-Pfizerine;etak Vacated 12/1/04

MISSISSIPPI NORTHERN

MSN 2_04-255—_—Mary Cooper, et at -+-Pfizer-ine: Opposed 12/1/04
MSN-——4—04-275—_-—_—reroy Anderson, etat-v-Pfizer-ine;etak Opposed 12/1/04

NEW JERSEY
NJ 2 04-4236
NJ 2 04-4497
NJ 2 04-4593

OKLAHOMA EASTERN
OKE 6 04-375

TENNESSEE EASTERN
TNE 2 04-337

TEXAS EASTERN

Steven Kail, et al. v. Pfizer, Inc., et al.

International Union of Operating Engineers Local No. 68 Welfare Fund v.
Pfizer, Inc., et al.

Alaska Electrical Pension Fund v. Pfizer, Inc., et al.

Jerry Hollaway, et al. v. Pfizer, Inc., et al.

Bauda V.L. Sutton v. Pfizer, Inc., et al.

FRE—2-64-309—\_t inda Barker-v-Pfizer-ine;-ctak Opposed 12/7/04
